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 1   Respectfully submitted,
 2   LAW OFFICES OF LAWRENCE D. ROHLFING
 3         /s/ Steven G. Rosales
     _________________________
 4   Steven G. Rosales
     Attorney for plaintiff Marcus Porch
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